      Case 4:20-cv-00435-TKW-EMT Document 20 Filed 03/15/21 Page 1 of 1




                  UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

LORNA SHANNA KEITH,
    Petitioner,

vs.                                           Case No.: 4:20cv435/TKW/EMT

ERICA STRONG, WARDEN,
    Respondent.
                                /

                                           ORDER

       This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 19). No objections were filed. Upon due consideration of

the Report and Recommendation and the case file, the Court agrees with the

magistrate judge’s recommended disposition of this case. Accordingly, it is

       ORDERED as follows:

       1.     The magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this order.

       2.     The Second Amended Petition (Doc. 14) is DENIED, and the Clerk

shall close the file.

       DONE and ORDERED this 15th day of March, 2021.

                                    T. Kent Wetherell, II
                                    T. KENT WETHERELL, II
                                    UNITED STATES DISTRICT JUDGE
